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J. DOUGLAS KOUNS                                                                    doug@veracityiir.com | 317-798-7878
Founder and Chief Executive Officer - Veracity IIR

CAREER OVERVIEW

F EDERAL B UREAU OF INVESTIGATION                                                                           1996 – 9/2018
                           Supervisory Special Agent | Team Leader | Special Agent
                Field Intelligence Group | Special Operations Group | Human Intelligence Collection Squad
                  Field Operations in Indianapolis, IN; Washington, DC; Bloomington, IN; & Sioux Falls, SD


Supervisory Special Agent, Field Intelligence Group
Developed strategy for investigative resource optimization and intelligence collection/dissemination while leading a high
performance multi-disciplinary team of FBI Special Agents and Analysts. Disseminated information across multiple levels from
the entire FBI, CIA, Defense Intelligence and law enforcement agencies to specific county, city and state agencies. Created and
led the first Indianapolis Intelligence Task Force, later used as a model by the FBI across multiple divisions.

Supervisory Special Agent
Led FBI Field Offices and responsive Agents while coordinating government/private entities in identifying terrorism threats
involving chemical weapons. Partnered with Israeli law enforcement and intelligence counterparts in Tel Aviv and Jerusalem
developing chemical weapon and chemical industry security policies and best practices. Analyzed major metropolitan areas to
determine potential targets of significant threats; evaluated city response capabilities and gaps to develop action plans
including allocation of current assets.

Team Leader, Special Operations Group (SOG)
Selected to establish and lead Indianapolis’ first Special Operations Group including building and managing investigations,
intelligence and team of 8 Special Agents. Team successfully supported key investigations with surveillance; high-risk arrests;
and covert, aerial and undercover operations leading to several requests nationally to support high priority investigations.

Special Agent, Human Intelligence (HUMINT) Collection Squad
Obtained information from identified individuals with access to knowledge desired by US Intelligence Community; recruited
confidential sources and served as their handler; and targeted collection efforts focused on Counter-Terrorism, Counter-
Intelligence and high level criminal matters.

FBI Special Agent
Fulfilled critical need in Bloomington, IN office for a counter terrorism investigator. Chosen to serve as Weapons of Mass
Destruction Coordinator for State of Indiana. Investigated and solved a high number of serious crimes on Native American
Reservations in Sioux Falls

CREDENTIALS

Master's Degree - Business Administration (MBA), with Distinction 4.0 GPA, Grantham University
Bachelor of Science – Chemistry & Education, Ball State University
FBI Training: Presentation Skills | Advanced Human Intelligence Operations | Special Operator Certification Leadership
Development Institute | Advanced Investigative Techniques | Evidence Response Certification
Middle Eastern Interrogation and Source Recruitment, Jordanian General Intelligence Directorate (GID)
Navigating Strategic Change, Kellogg School of Management
1st degree Black Belt in Tae Kwon Do
                                                                                                     Exhibit 148
